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                             File No.: 122371
                         5

                         6

                         7                           IN THE UNITED STATES DISTRICT COURT
                         8                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                                               EASTERN DIVISION
                         9
                                                                              )
                        10       Gordon Donovan,                              )
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                                                                              )
                        11
                                                           Plaintiff,         )        Case No:
                        12                                                    )
                                           v.                                 )        COMPLAINT
                        13                                                    )
                                 Lawrence Ragan                               )        DEMAND FOR JURY TRIAL
                        14       Communications, Inc.                         )
                                                                              )
                        15
                                                          Defendant.          )
                        16

                        17          Plaintiff Gordon Donovan (“Plaintiff”), by and through its undersigned counsel, for its
                        18   Complaint against defendant Lawrence Ragan Communications, Inc. (“Defendant”) states and
                        19   alleges as follows:
                        20                                              INTRODUCTION
                        21          1.          This action seeks to recover damages for copyright infringement.
                        22          2.          Plaintiff herein provides photojournalism goods and services and owns the rights
                        23   to these images which Plaintiff licenses to online and print publications.
                        24          3.          Plaintiff has obtained U.S. copyright registrations covering many of Plaintiff's
                        25   images and many others are the subject of pending copyright applications.
                        26          4.          Defendant owns and operates a website known as www.prdaily.com (the
                        27   “Website”).
                        28

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                                                                        PLAINTIFF'S COMPLAINT
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                         1
                                    5.        Defendant, without permission or authorization from Plaintiff actively copied,
                         2
                             stored, and/or displayed Plaintiff's Photograph on the Website and engaged in this misconduct
                         3
                             knowingly and in violation of the United States copyright laws.
                         4
                                                                         PARTIES
                         5
                                        6.    Plaintiff Gordon Donovan is an individual who is a citizen of the State of New
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                             York and maintains a principal place of business at 405 East 56 Street, New York, New York
                         7
                             10022 in New York County.
                         8
                                        7.    On information and belief, defendant Lawrence Ragan Communications, Inc. is
                         9
                             an Illinois Corporation with a principal place of business at 10 S. La Salle St., Chicago, Illinois
                        10
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                             60603 in Cook County, Illinois and is liable and responsible to Plaintiff based on the facts herein
                        11
                             alleged.
                        12
                                                             JURISDICTION AND VENUE
                        13
                                    8.        This Court has subject matter jurisdiction over the federal copyright
                        14
                             infringement claims pursuant to 28 U.S.C. §1338(a) and 28 U.S.C. §1331.
                        15
                                        9.    This Court has personal jurisdiction over Lawrence Ragan Communications,
                        16
                             Inc. because it maintains its principal place of business in Illinois.
                        17
                                        10.   Venue is proper under 28 U.S.C. §1391(a)(2) because Lawrence Ragan
                        18
                             Communications, Inc. does business in this Judicial District and/or because a substantial part
                        19
                             of the events or omissions giving rise to the claim occurred in this Judicial District.
                        20
                                                         FACTS COMMON TO ALL CLAIMS
                        21
                                    11.       Plaintiff is a professional photographer by trade who is the legal and rightful
                        22
                             owner of photographs which Plaintiff licenses to online and print publications.
                        23
                                    12.       Plaintiff has invested significant time and money in building Plaintiff's
                        24
                             photograph portfolio.
                        25
                                    13.       Plaintiff has obtained active and valid copyright registrations from the United
                        26
                             States Copyright Office (the “USCO”) which cover many of Plaintiff's photographs while many
                        27
                             others are the subject of pending copyright applications.
                        28

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                                                                      PLAINTIFF'S COMPLAINT
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                         1
                                    14.     Plaintiff's photographs are original, creative works in which Plaintiff owns
                         2
                             protectable copyright interests.
                         3
                                     15.    Lawrence Ragan Communications, Inc.is the registered owner of the Website
                         4
                             and is responsible for its content.
                         5
                                     16.    Lawrence Ragan Communications, Inc. is the operator of the Website and is
                         6
                             responsible for its content.
                         7
                                    17.     The Website is a popular and lucrative commercial enterprise.
                         8
                                    18.     The Website is monetized in that sells merchandise and/or services to the public
                         9
                             and, on information and belief, Defendant profits from these activities.
                        10
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                                    19.     On June 30, 2019, Plaintiff Gordon Donovan authored a photograph of New
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                             York Governor Andrew Cuomo attending a New York City Gay Pride event (the
                        12
                             “Photograph”). A copy of the Photograph is attached hereto as Exhibit 1.
                        13
                                     20.    Plaintiff applied to the USCO to register the Photograph on September 16, 2020
                        14
                             under Application No. 1-9281562358.
                        15
                                     21.    The Photograph was registered by USCO on September 16, 2020 under
                        16
                             Registration No. VA 2-217-905.
                        17
                                    22.     On July 13, 2020, Plaintiff observed the Photograph on the Website in a story
                        18
                             entitled “Crisis communication takeaways from Andrew Cuomo” dated April 30, 2020. A copy
                        19
                             of the screengrab of the Website including the Photograph is attached hereto as Exhibit 2.
                        20
                                    23.     The Photograph was displayed at URL: https://www.prdaily.com/crisis-
                        21
                             communication-takeaways-from-andrew-cuomo/             and      was        stored   at     URL:
                        22
                             https://cdn.prdaily.com/wp-content/uploads/2020/04/andrew-cuomo-at-parade.jpg.
                        23
                                     24.    Without permission or authorization from Plaintiff, Defendant volitionally
                        24
                             selected, copied, stored and/or displayed Plaintiff’s copyright protected Photograph as set forth
                        25
                             in Exhibit 1 which is annexed hereto and incorporated in its entirety herein, on the Website.
                        26
                                    25.     On information and belief, the Photograph was copied, stored and displayed
                        27
                             without license or permission, thereby infringing on Plaintiff's copyrights (hereinafter the
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                                                                    PLAINTIFF'S COMPLAINT
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                         1
                             “Infringement”).
                         2
                                    26.     The Infringement includes a URL (“Uniform Resource Locator”) for a fixed
                         3
                             tangible medium of expression that was sufficiently permanent or stable to permit it to be
                         4
                             communicated for a period of more than transitory duration and therefore constitutes a specific
                         5
                             infringement. 17 U.S.C. §106(5); Perfect 10, Inc. v. Amazon.com, Inc.508 F.3d 1146, 1160 (9th
                         6
                             Cir. 2007).
                         7
                                    27.     The Infringement is an exact copy of the entirety of Plaintiff's original image
                         8
                             that was directly copied and stored by Defendant on the Website.
                         9
                                    28.     On information and belief, Defendant takes an active and pervasive role in the
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                             content posted on its Website, including, but not limited to copying, posting, selecting,
                        11
                             commenting on and/or displaying images including but not limited to Plaintiff's Photograph.
                        12
                                    29.     On information and belief, the Photograph was willfully and volitionally posted
                        13
                             to the Website by Defendant.
                        14
                                    30.     On information and belief, Defendant is not registered with the United States
                        15
                             Copyright Office pursuant to 17 U.S.C. §512.
                        16
                                    31.     On information and belief, the Infringement were not posted at the direction of
                        17
                             a “user” as that term is defined in 17 U.S.C. §512(c).
                        18
                                    32.     On information and belief, Defendant was aware of facts or circumstances from
                        19
                             which the determination regarding the Infringement was apparent. Defendant cannot claim that
                        20
                             it was not aware of the infringing activities, including the specific Infringement which form the
                        21
                             basis of this complaint, since such a claim would amount to only willful blindness to the
                        22
                             Infringement on the part of Defendant.
                        23
                                    33.     On information and belief, Defendant engaged in the Infringement knowingly
                        24
                             and in violation of applicable United States Copyright Laws.
                        25
                                    34.     On information and belief, Defendant has the legal right and ability to control
                        26
                             and limit the infringing activities on its Website and exercised and/or had the right and ability
                        27
                             to exercise such right.
                        28

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                                                                    PLAINTIFF'S COMPLAINT
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                         1
                                      35.   On information and belief, Defendant monitors the content on its Website.
                         2
                                      36.   On information and belief, Defendant has received a financial benefit directly
                         3
                             attributable to the Infringement.
                         4
                                      37.   On information and belief, the Infringement increased traffic to the Website and,
                         5
                             in turn, caused Defendant to realize an increase its advertising revenues and/or merchandise
                         6
                             sales.
                         7
                                      38.   On information and belief, a large number of people have viewed the unlawful
                         8
                             copies of the Photograph on the Website.
                         9
                                      39.   On information and belief, Defendant at all times had the ability to stop the
                        10
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                             reproduction and display of Plaintiff's copyrighted material.
                        11
                                      40.   Defendant's use of the Photograph, if widespread, would harm Plaintiff's
                        12
                             potential market for the Photograph.
                        13
                                      41.   As a result of Defendant's misconduct, Plaintiff has been substantially harmed.
                        14
                                                                    FIRST COUNT
                        15                       (Direct Copyright Infringement, 17 U.S.C. §501 et seq.)
                        16            42.   Plaintiff repeats and incorporates by reference the allegations contained in the

                        17   preceding paragraphs, as though set forth in full herein.

                        18            43.   The Photograph is an original, creative work in which Plaintiff owns a valid

                        19   copyright properly registered with the United States Copyright Office.

                        20            44.   Plaintiff has not licensed Defendant the right to use the Photograph in any

                        21   manner, nor has Plaintiff assigned any of its exclusive rights in the copyrights to Defendant.

                        22            45.   Without permission or authorization from Plaintiff and in willful violation of

                        23   Plaintiff's rights under 17 U.S.C. §106, Defendant improperly and illegally copied, stored,

                        24   reproduced, distributed, adapted, and/or publicly displayed works copyrighted by Plaintiff

                        25   thereby violating one of Plaintiff's exclusive rights in its copyrights.

                        26            46.   Defendant's reproduction of the Photograph and display of the Photograph on

                        27   the Website constitutes willful copyright infringement. Feist Publications, Inc. v. Rural

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                                                                     PLAINTIFF'S COMPLAINT
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                         1
                             Telephone Service Co., Inc., 499 U.S. 340, 361 (1991).
                         2
                                     47.     Plaintiff is informed and believes and thereon alleges that the Defendant
                         3
                             willfully infringed upon Plaintiff's copyrighted Photograph in violation of Title 17 of the U.S.
                         4
                             Code, in that they used, published, communicated, posted, publicized, and otherwise held out
                         5
                             to the public for commercial benefit, the original and unique Photograph of the Plaintiff without
                         6
                             Plaintiff's consent or authority, by using them in the infringing articles on the Website.
                         7
                                     48.     As a result of Defendant's violations of Title 17 of the U.S. Code, Plaintiff is
                         8
                             entitled to any an award of actual damages and disgorgement of all of Defendant's profits
                         9
                             attributable to the infringements as provided by 17 U.S.C. § 504 in an amount to be proven
                        10
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                                     49.     As a result of Defendant's violations of Title 17 of the U.S. Code, Plaintiff is
                        11
                             entitled to injunctive relief to prevent or restrain infringement of his copyright pursuant to 17
                        12
                             U.S.C. § 502.
                        13
                                                                    JURY DEMAND
                        14
                                     50.     Plaintiff hereby demands a trial of this action by jury.
                        15
                                                                PRAYER FOR RELIEF
                        16
                                     WHEREFORE Plaintiff respectfully requests judgment as follows:
                        17
                                     That the Court enters a judgment finding that Defendant has infringed on Plaintiff's
                        18
                             rights to the Photograph in violation of 17 U.S.C. §501 et seq. and award damages and monetary
                        19
                             relief as follows:
                        20
                                             a.     finding that Defendant infringed Plaintiff's copyright interest in the
                        21
                                                    Photograph by copying and displaying without a license or consent;
                        22
                                             b.     for an award of actual damages and disgorgement of all of Defendant's
                        23
                                                    profits attributable to the infringements as provided by 17 U.S.C. § 504
                        24
                                                    in an amount to be proven;
                        25
                                             c.     for an order pursuant to 17 U.S.C. § 502(a) enjoining Defendant from
                        26
                                                    any infringing use of any of Plaintiff's works;
                        27
                                             d.     for costs of litigation and reasonable attorney's fees against Defendant
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                                                                     PLAINTIFF'S COMPLAINT
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                         1
                                                pursuant to 17 U.S.C. § 505;
                         2
                                         e.     for pre judgment interest as permitted by law; and
                         3
                                         f.     for any other relief the Court deems just and proper.
                         4
                             DATED: June 21, 2021
                         5
                                                                      BARSHAY SANDERS, PLLC
                         6

                         7                                            By:     /s/ Craig B. Sanders
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                        11                                            File No.: 122371

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                                                                PLAINTIFF'S COMPLAINT
